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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                        Criminal Minutes


 Date: October 20, 2022                                                Judge: Hon. James Donato

 Court Reporter: Marla Knox

 Time:          1 hour, 23 minutes
 Case No.:      21-cr-00155-JD-1
 Case Name:     USA v. Carlos E. Kepke

 Attorneys for Government:        Michael G. Pitman and Boris Bourget
 Attorneys for Defendant:         Grant P. Fondo, David Rossiter-Callaway, Richard
                                  Strassberg, and Sylvia R. Ewald

 Deputy Clerk: Jean Davis

                                         PROCEEDINGS

Motion Hearings -- Held.

                                     NOTES AND ORDERS

For Dkt. No. 61, defendant’s disclosures for expert witness Rodney Read did not adequately
state the bases and reasons for his proposed opinion testimony under Fed. R. Crim. P.
16(b)(1)(C). See Dkt. Nos. 61-1, 61-2, 61-3. In lieu of excluding Read as a witness, and with
the government’s agreement, defendant will have an opportunity to disclose by October 28,
2022, the bases and reasons for each of the following opinions:

    •   Foreign asset protection trusts and foreign non-grantor trusts are valid and legal trust
        entities.

    •   It is not uncommon to establish a trust in a foreign jurisdiction that has a lower income
        tax rate than the United States in contemplation of potential United States income tax
        reduction or deferral.

    •   There are no legal prohibitions against appointing a beneficiary as the trust protector,
        which may include the power to remove and replace the trustee of a foreign trust. This
        arrangement does not necessarily affect the non-grantor status of the foreign trust.

    •   Foreign and domestic trustees alike owe a fiduciary responsibility to beneficiaries to
        ensure trust assets are being used exclusively for the benefit of a trust’s beneficiaries and
        acting within the restrictions and limitations set forth in the trust documents.
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    •   It is not uncommon for the beneficiary of a foreign trust to request that a trustee take
        certain actions or execute certain transactions, including investments or purchases.
        Generally, it is up to the trustee to review these requests and decide whether to accept or
        reject them.

    •   It is not uncommon that when an attorney identifies a trustee that is reliable and
        responsive, that the attorney continues to utilize the same trustee for other clients.

    •   When United States tax advantages and asset protection are the goals of the foreign trust,
        it is not uncommon for the foreign trust to own one or more offshore corporations
        whereby shares of stock in the offshore corporations are held as assets of the trust.

    •   It is not uncommon for a foreign trust to purchase an asset from a beneficiary, which
        then becomes an asset of the trust. The sale does not necessarily cause the beneficiary to
        become a grantor of the foreign trust.

Read’s proposed testimony will be limited to these opinions, so long as their bases and reasons
are adequately stated pursuant to this order. Any opinion that is not adequately supported will be
excluded at trial.

For Dkt. No. 63, the motion is denied. The parties are advised that experts will not be permitted
to give legal conclusions on an ultimate issue of law, or instruct the jury on the law.

For Dkt. No. 64, the motion is terminated as moot. The government will disclose all Fed. R.
Evid. 1006 materials related to the testimony of IRS Agent James Oertel by October 24, 2022.

For Dkt. No. 90, the government may introduce evidence related to Robert Brockman solely for
context and background. The government may not use evidence of Brockman’s foreign trust
structure or other circumstances to establish willfulness on defendant’s part. Fed. R. Evid. 403.

For Dkt. No. 66, the government will provide defendant with a specific statement of the
undercover evidence that it expects to introduce at trial by October 28, 2022. As a guiding
principle, the Court will likely limit admission of the undercover evidence to statements and
communications by defendant relevant to his knowledge or intent that offshore structures and
trusts were designed to evade federal income taxes. Fed. R. Evid. 403, 404(b).

For Dkt. No. 81, the government is directed to produce by October 28, 2022, the documents
summarized in the August 12, 2022, letter, Dkt. No. 80-3. For any redactions or withheld
documents, the government is directed to provide by October 28, 2022, a log describing the
reasons for withholding the information, in the manner of a privilege log.

The Court will address Dkt. No. 85 in a separate order.

The parties are directed to file proposed jury instructions by November 7, 2022.

The government is directed to produce by October 28, 2022, the IRS agent notes discussed at the
hearing.

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The parties are directed to meet and confer about coconspirator statements and an agreement on
admissibility.




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